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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

  IN RE: ZANTAC (RANITIDINE)                                                              MDL NO 2924
  PRODUCTS LIABILITY                                                                       20-MD-2924
  LITIGATION

                                                              JUDGE ROBIN L ROSENBERG
                                                      MAGISTRATE JUDGE BRUCE REINHART

  __________________________________/

  THIS DOCUMENT RELATES TO: ALL CASES

                                      PRETRIAL ORDER # 49
                              Order on Class Action Discovery Timelines

         The Court enters the following Order based on the Parties’ stipulation regarding discovery and

  the case management schedule in this multidistrict litigation (“MDL”).

  I.     SCOPE OF THE ORDER

         This Order applies only to the Consolidated Third Party Payor Class and the Consolidated

  Consumer Class Action cases pending in MDL No. 2924 and to all other class actions transferred to

  or directly filed in MDL No. 2924 after the date of this Order.

  II.    PLAINTIFFS’ DISCOVERY TIMELINE

         At the request of the Court, Co-Lead Counsel for Plaintiffs and Defendants conferred to

  develop an approach to scheduling discovery in the Consolidated Third Party Payor Class and

  Consolidated Consumer Class Action cases. The Court requested that the Parties confer and try to

  reach consensus as to the most effective proposals for a timeline for discovery taken by the Defendants

  in those cases. After consideration of the Parties’ joint proposal on the issue, the Court concludes that

  the agreed schedule of deadlines and discovery periods is appropriate.

         Therefore, the Court ORDERS and ADJUDGES as follows:

         The following schedule shall apply to discovery taken by Defendants in the Consolidated

  Third Party Payor Class and Consolidated Consumer Class Action cases:
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                         Discovery Event                          Start Date        End Date
                                                                (Or Deadline)    (If Applicable)
   TPP Class Plaintiffs serve responses/objections to           10/23/20
   requests for production and responses/objections to
   interrogatories, and begin producing responsive, non-
   objectionable documents.

   Consumer Class Plaintiffs serve responses/objections to      10/30/20
   requests for production and responses/objections to
   interrogatories, and begin producing responsive, non-
   objectionable documents.

   TPP Class Plaintiffs and Consumer Class Plaintiffs will      10/23/20        3/1/21
   provide rolling productions for all RFP responses to
   which they do not object as required by Part II.D of PTO
   32. If disputes arise, the Parties will follow the dispute
   resolution procedures mandated by PTO 32.

   Meet and confers on objections to requests for               10/26/20        12/11/20
   production and interrogatories. If disputes remain
   regarding Plaintiffs’ objections, the Parties will follow
   the dispute resolution procedures mandated by PTO 32
   as those disputes arise.

   Substantial completion of production of all responsive,      3/1/21
   non-objectionable documents.

   Depositions of Consumer Class Plaintiffs and TPP Class       4/1/21          11/19/21
   Plaintiffs (including 30(b)(6) depositions), and
   Defendants’ depositions of other fact witnesses.

   Close of fact discovery and deadline for filing of class     12/20/21
   motions per PTO 30.



     III.      MEET AND CONFER OBLIGATIONS.

            Nothing in this Order is intended to limit the ongoing meet and confer obligations of the

  Parties. The Court directs the Parties to continue to meet and confer as to discovery issues and

  to continue to apprise the Court of any issues.

            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 5th day of October,

  2020.


                                                         ROBIN L. ROSENBERG
                                                         UNITED STATES DISTRICT JUDGE


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